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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

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                                          )
BENNIE G. THOMPSON et al.,                )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           )   Case No. 21-cv-00400 (APM)
                                          )
DONALD J. TRUMP et al.,                   )
                                          )
      Defendants.                         )
_________________________________________ )
_________________________________________
                                          )
ERIC SWALWELL,                            )
                                          )
      Plaintiff,                          )
                                          )
             v.                           )   Case No. 21-cv-00586 (APM)
                                          )
DONALD J. TRUMP et al.,                   )
                                          )
      Defendants.                         )
_________________________________________ )
_________________________________________
                                          )
JAMES BLASSINGAME &                       )
      SIDNEY HEMBY,                       )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           )   Case No. 21-cv-00858 (APM)
                                          )
DONALD J. TRUMP,                          )
                                          )
      Defendant.                          )
_________________________________________ )
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_________________________________________
                                          )
CONRAD SMITH et al.,                      )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           )
                                          )                   Case No. 21-cv-02265 (APM)
DONALD J. TRUMP et al.,                   )
                                          )
      Defendants.                         )
_________________________________________ )


                                             ORDER

        These matters have returned to this court following a remand from the D.C. Circuit.

The D.C. Circuit has ordered that, if Defendant Donald J. Trump wishes to have the “opportunity

to dispute the plaintiffs’ allegations bearing on the immunity question or to introduce his own facts

pertaining to the issue,” he “must be afforded an opportunity to resolve this immunity claim before

merits discovery.” Blassingame v. Trump, 87 F.4th 1, 29 (D.C. Cir. 2023). That opportunity could

include “discovery bearing on the immunity question.” Id.

        To discuss further proceedings in these cases, the parties shall appear for a status

conference on February 23, 2024, at 1:30 p.m. in Courtroom 10. A public line shall be connected

for this proceeding. The parties shall file a Joint Status Report on or before February 22, 2024,

which addresses (1) whether Defendant should file answers at this time; (2) whether the parties

wish to pursue discovery as to the immunity question before merits discovery; (3) assuming the

parties will first seek immunity-related discovery, the expected parameters of such discovery; (4) a

timeline for immunity-related discovery; and (5) any anticipated complex discovery issues that are

likely to arise in this matter.




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       In addition, the court sua sponte consolidates these matters for purposes of immunity-

related discovery, resolution of the immunity issue on summary judgment, and merits discovery,

if necessary. Unless ordered otherwise, all future filings in these matters shall be in the first-filed

case, Thompson v. Trump, Case No. 21-cv-00400 (APM).




Dated: February 16, 2024                                      Amit P. Mehta
                                                       United States District Court Judge




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